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  Melanie I. Wiener, Partner
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                                                                March 27, 2023


  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Pamela K. Chen, U.S.D.J.
  225 Cadman Plaza East
  Courtroom 4F North
  Brooklyn, NY 11201-1804

  Re: IME Watchdog, Inc., v. Safa Abdulrahim Gelardi, Vito Gelardi, Gregory
  Elefterakis, Roman Pollak, Anthony Bridda, Nicholas Elefterakis, Nicholas
  Elefterakis, and IME Companions LLC, Docket No.: 1:22-cv-1032

  Dear Judge Chen:

        This law firm is counsel to the Defendants, Gregory Elfterakis (“Gregory”),
  Roman Pollak (“Roman”), and Anthony Bridda (“Anthony”) (collectively
  “Defendants”), in the above-referenced matter. We write regarding today’s hearing and
  Gregory’s scheduled appearance.

          Unfortunately, there was a miscommunication with our client Gregory, who was under
  the belief that his appearance and testimony in court at 2 PM today was not needed. He is
  currently in Florida and unable to return to New York prior to the 2 PM hearing. He is able to
  appear and testify remotely if the court consents to same. I contacted Plaintiff’s attorney late last
  night when I was advised of the situation and he consented to Gregory’s remote testimony. We
  apologize for this late notice and confusion. Both Roman and Anthony will be appearing in
  person to testify at 2 PM.

         We thank the court for its courtesies.


                                                                Respectfully submitted,

                                                                ABRAMS FENSTERMAN, LLP
                                                                /s/ Melanie I. Wiener
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                                                 Elfterakis, Roman Pollack, and
                                                 Anthony Bridda



  CC: All counsel of record via ECF
           -and -

  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. James R. Cho U.S.M.J.
  Cadman Plaza East
  Courtroom 11D South
  Brooklyn, NY 11201-1804
